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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

DENIS HOSBELI CAL FLORIAN,                      )
MARLON OMAR CAL FLORIAN,                        )
HUGO JORDAN REYES, and                          )
FRANCISCO PEREZ LOPEZ,                          )
                                                )
Plaintiff,                                      )
                                                )     CIVIL ACTION NO.
v.                                              )
                                                )
                                                )
SOTIRIOS VASILOPOULOS and                       )
BOSTON DESIGN LAB LLC.                          )
                                                )
Defendants.                                     )

                              COMPLAINT AND JURY DEMAND


                                            Introduction


1. Plaintiffs, Denis Hosbeli Cal Florian, Marlon Omar Cal Florian, Hugo Jordan Reyes, and

     Francisco Perez Lopez, bring this action to recover unpaid wages and overtime pay for work

     Plaintiffs performed for Defendants, Sotirios Vasilopoulos and Boston Design Lab LLC.

     Defendants hired Plaintiffs to perform lime plaster and liquid marble work at the GreCo

     Restaurant, located at 200 Pier Four Blvd, Boston, MA 02210. Defendants regularly and

     deliberately failed to pay Plaintiffs for all hours worked, paid Plaintiffs in cash without

     providing paystubs or other records of pay, and did not provide overtime pay required by

     law.

2. As a result, Plaintiffs bring this action seeking their wages under the Fair Labor Standards

     Act (“FLSA”), 29 U.S.C. §§ 201 et seq., and under M. G. L. c. 149, § 148 and under M. G.
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     L. c. 151, § 1A. Plaintiffs seek, among other forms of relief, mandatory trebling of damages,

     liquidated damages, interest, and attorneys’ fees and costs, as provided for by law.

                                               Parties

3.      Plaintiff Denis Hosbeli Cal Florian is an adult resident of Chelsea, Massachusetts. He

worked for Defendants from on or about February 17, 2019, until on or about July 22, 2019.

4.      Plaintiff Marlon Omar Cal Florian is an adult resident of Chelsea, Massachusetts. He

worked for Defendants from on or about February 17, 2019, until on or about July 22, 2019.

5.      Plaintiff Hugo Jordan Reyes is an adult resident of Somerville, Massachusetts. He

worked for Defendants from approximately January 2019 until on or about July 22, 2019.

6.      Plaintiff Francisco Perez Lopez is an adult resident of Somerville, Massachusetts. He

worked for Defendants from approximately April 2019 until on or about July 22, 2019.

7.      Defendant Boston Design Lab LLC, is a Massachusetts corporation incorporated at 20

Skyline Drive, Westwood, Massachusetts, according to records with the Massachusetts Secretary

of State’s Office.

8.      As reflected in corporate records filed with the Massachusetts Secretary of State’s Office,

Sotirios Vasilopoulos is listed as the registered agent for Boston Design Lab LLC. Defendant

Sotirios Vasilopoulos is also listed as a Manager of Boston Design Lab LLC. On information

and belief, Defendant Sotirios Vasilopoulos currently resides at 41 Westgate Road, Apt. 3,

Chestnut Hill, Massachusetts.

9.      On information and belief, Defendant Sotirios Vasilopoulos substantially or exclusively

controls policies and practices with respect to the payment of wages, including the policies and

practices challenged in this case.




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10.       During the relevant time period, Boston Design Lab LLC was an enterprise engaged in

interstate commerce under the Fair Labor Standards Act (FLSA) and the regulations interpreting

the FLSA.

11.       On information and belief, Defendants maintained annual gross sales of at least $500,000

during the relevant time period.

12.       Defendants regularly transacted business in this district during the relevant time period.

                                       Jurisdiction and Venue

13.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and 29 U.S.C. §

216(b).

14.       This Court has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C.

§ 1367.

15.       Defendants have their principal place of business in the District of Massachusetts and

otherwise conduct business in this District and are therefore subject to personal jurisdiction in

this District.

16.       Venue is proper in the District of Massachusetts pursuant to 28 U.S.C. § 1391, because

Defendants are subject to personal jurisdiction in this District and because a substantial part of

the acts or omissions giving rise to the claims addressed in this action occurred in this District.


                                              Factual Allegations

17.       Plaintiffs were employees of Boston Design Lab LLC between approximately January

2019 until approximately July 22, 2019.

18.       Plaintiff Hugo Jordan Reyes began working for Defendants in or about January 2019.

Plaintiff Denis Cal Florian and Plaintiff Marlon Cal Florian began working for Defendants on or




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about February 17, 2019. Plaintiff Francisco Perez Lopez began working for Defendants in or

about April 2019.

19.     Plaintiffs performed lime plaster and liquid marble work for Defendants.

20.     Plaintiffs worked on numerous projects throughout Massachusetts and the New England

area, but during the relevant period, Plaintiffs spent the majority of their time on the GreCo

restaurant project, located at 200 Pier Four Boulevard, Boston, Massachusetts.

21.     Plaintiffs were hired by Defendant Sotirios Vasilopoulos to perform this work.

22.     Plaintiff Hugo Jordan Reyes was hired on or about January 1, 2019. Defendant

Vasilopoulos told him he would be paid $15 per hour. In or about May 2019, Defendant

Vasilopoulos told Plaintiff Jordan Reyes that his hourly rate would be increased to $17 per

hour.

23.     Plaintiff Denis Hosbeli Cal Florian was hired on or about February 17, 2019. Defendant

Vasilopoulos told him he would be paid $16 per hour.

24.     Plaintiff Marlon Omar Cal Florian was hired on or about February 17, 2019. Defendant

Vasilopoulos told him he would be paid $18 per hour.

25.     Plaintiff Francisco Perez Lopez was hired in or about April 2019. Defendant

Vasilopoulos told him that he would be paid $14 per hour.

26.     From January until approximately June 10, 2019, Plaintiffs worked an average of 60

hours per week. Plaintiffs worked about six days per week from approximately 7 a.m. until

approximately 5 p.m.

27.     On or about June 10, 2019, Defendant Vasilopoulos began pressuring Plaintiffs to work

more because they were falling behind on the GreCo restaurant project.




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28.     On or about June 10, 2019 until on or about July 22, 2019, Plaintiffs worked

approximately seven days a week, from approximately 7 a.m. until approximately 11 p.m.

29.     Defendant Vasilopoulos paid Plaintiffs irregularly with a combination of cash and

checks. Plaintiffs were not given paystubs or other pay records.

30.     Plaintiffs regularly worked more than 40 hours per week throughout their employment,

but were not paid overtime pay for hours worked above 40 hours.

31.     Plaintiff Denis Hosbeli Cal Florian and Plaintiff Marlon Cal Florian were each paid

approximately $4000 for their work performed from February through approximately May

2019.

32.     Plaintiff Denis Hosbeli Cal Florian and Plaintiff Marlon Cal Florian received

approximately $3200 for their work performed from approximately May 2019 until on or about

July 22, 2019.

33.     Plaintiff Denis Hosbeli Cal Florian and Plaintiff Marlon Cal Florian were paid in a

combination of check and cash.

34.     Plaintiff Hugo Jordan Reyes was paid $900 per week via check from January 2019 until

the beginning of May 2019. Plaintiff Jordan Reyes received a total of $3000 via check for all

work performed from May 2019 through on or about July 22, 2019.

35.     Plaintiff Francisco Perez Lopez received $404 via check for work performed in April

2019, $900 via check for work performed in May 2019, $1000 via check for work performed in

June 2019, and $500 in cash for work performed in July 2019.

36.     Plaintiffs were significantly undercompensated for regular and overtime hours worked.

37.     The nonpayment of wages continued until on or about July 22, 2019, when Plaintiffs

refused to work any longer without pay.




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   38.     Plaintiffs are owed wages as follows for work performed from approximately January

   2019 through on or about July 22, 2019:

           a. Plaintiff Denis Hosbeli Cal Florian is owed at least approximately $26,340,

               reflecting about 912 regular hours and about 752 overtime hours worked.

           b. Plaintiff Marlon Omar Cal Florian is owed at least approximately $31,720, reflecting

               about 912 regular hours and about 752 overtime hours worked.

           c. Plaintiff Hugo Jordan Reyes is owed at least approximately $28,710, reflecting

               about 1,192 regular hours and about 892 overtime hours worked.

           d. Plaintiff Francisco Perez Lopez is owed at least approximately $19,876, reflecting

               about 672 regular hours and about 632 overtime hours worked.

   39.     Plaintiffs filed an administrative complaint with the Massachusetts Attorney General’s

   Office and have received permission to proceed in court, attached hereto as Exhibit A.


                                     COUNT I
                FAILURE TO PAY OVERTIME – FAIR LABOR STANDARDS ACT

40. Defendants violated 29 U.S.C. § 207(a) by failing to pay Plaintiffs overtime compensation at

   one-and-a-half times his regular hourly rate for hours worked in excess of 40 hours per week.

41. Defendants’ violations of 29 U.S.C. § 207(a) were repeated, willful, and intentional.

42. Plaintiffs have been damaged by these violations of 29 U.S.C. § 207(a).

43. Pursuant to 29 U.S.C. § 207(a) and § 216(b), Defendants are liable to Plaintiffs for the full

   amount of their unpaid overtime compensation, in an amount to be determined at trial, plus an

   additional equal amount as liquidated damages, plus the costs and reasonable attorneys’ fees

   incurred by Plaintiffs in bringing this action.


                                                COUNT II



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                      FAILURE TO PAY OVERTIME – MASSACHUSETTS LAW

44. Defendants violated M. G. L. c. 151, § 1A, by failing to pay Plaintiffs overtime compensation at

   one-and-a-half times his regular hourly rate for hours worked in excess of 40 hours per week.

45. Plaintiffs have been damaged by these violations of M. G. L. c. 151, § 1A.

46. Defendants are liable to Plaintiffs pursuant to M. G. L. c. 151, § 1A for the full amount of

   overtime wages owed, in an amount to be determined at trial, plus mandatory treble damages,

   costs, interest, and attorneys’ fees.

                                       Count III
                       NONPAYMENT OF WAGES – MASSACHUSETTS LAW

47. Defendants violated the Massachusetts Wage Act, M. G .L. c. 149, § 148, by failing to pay

   Plaintiffs for all hours worked and for failure to pay, on a timely basis, all wages due to

   Plaintiffs.

48. Plaintiffs have been damaged by these violations of M. G. L. c. 149, § 148.

49. Defendants are liable to Plaintiffs pursuant to M. G. L. c. 149, § 150, for or the full amount of

   the wages owed, in an amount to be determined at trial, plus mandatory treble damages, costs,

   interest, and attorneys’ fees.

                                            Prayer for Relief

                 WHEREFORE, Plaintiffs request that this Court enter the following relief:

   A.      Determine the damages sustained by Plaintiffs as a result of Defendants’ violations of

   federal and state employment laws, including the Fair Labor Standards Act, the Massachusetts

   Wage Act, and other federal and state laws, rules, and regulations, and award those damages

   against Defendants in favor of Plaintiff, plus additional liquidated and treble damages and

   interest as provided for by law;




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B.     Award Plaintiff costs of this suit, including, without limitation, reasonable attorneys’

fees; and

C.     Any other or further relief as the Court may deem just and proper.



            PLAINTIFF DEMANDS A JURY TRIAL ON ALL CLAIMS SO TRIABLE



                                                             DENIS HOSBELI CAL FLORIAN,
                                                             MARLON OMAR CAL FLORIAN,
                                                                HUGO JORDAN REYES, and
                                                                 FRANCISCO PEREZ LOPEZ

                                                                                  By their attorney,


                                                                                /s/ Hannah Tanabe

                                                                   Hannah Tanabe, BBO #693963
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 Dated: November 4, 2019




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